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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


UNITED STATES OF AMERICA,
                                                             JUDGMENT
                             Plaintiff-Respondent,
v.                                                           Case Number: 3:16-cr-00029-MMD-WGC
                                                             (Related Case 3:23-cv-00321-MMD)
ROBERT GENE RAND, et al.,

                             Defendant-Petitioner.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

 X       Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that the Motion to Vacate, Set Aside, or Correct Sentence under
28 U.S.C. § 2255 (ECF No. 821) is DENIED.
       IT IS FURTHER ORDERED that a certificate of appealability is DENIED.
       IT IS FURTHER ORDERED that judgment is hereby entered accordingly, and this case is closed.




                      December 8, 2023
